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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                  NO. 4:05CR00054-01 JLH

KENNETH RAY IRVIN                                                                     DEFENDANT


                                     OPINION AND ORDER

        On March 24, 2010, Kenneth Ray Irvin filed a motion for a return of seized property pursuant

to Federal Rule of Criminal Procedure 41(g). The United States has responded to the motion, and

the motion is ripe for adjudication. For the reasons that follow, the Court finds that an evidentiary

hearing is necessary to determine whether Irvin filed a properly executed claim contesting the

forfeiture of his property.

                                                  I.

        On February 10, 2005, the Drug Enforcement Administration (“DEA”) seized a 2000 Dodge

Intrepid owned by Irvin from a co-defendant. After the seizure, the DEA instituted an administrative

forfeiture proceeding against the vehicle pursuant to 18 U.S.C. § 983(a) and 19 U.S.C. § 1607(a).

Notices of seizure were sent to the relevant parties, including Irvin. The notices advised that Irvin

could file a claim to contest the forfeiture of the vehicle. The claim had to “[i]dentify the specific

property being claimed; state the claimant’s interest in such property’ and be made under oath,

subject to penalty of perjury.” Document # 149, Ex. 5. Irvin received the notices. On April 20,

2005, William C. McArthur, one of the lawyers representing Irvin, wrote the asset forfeiture section

of the Offices of Operations Management of the DEA and requested an extension of time to respond

to the notices of forfeiture. The DEA granted the request by letter dated May 4, 2005, and gave Irvin
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twenty days from the date the letter was received to submit a claim. The letter also stated that, if

Irvin wanted to request the return of the vehicle through the DEA administratively, he would be

required to submit a petition for remission or mitigation of forfeiture and state the facts and

circumstances that would justify the return of the property.

       Irvin received the letter on May 19, 2005. He testified that he wrote a letter on June 5, 2005,

making a claim for the 2000 Dodge Intrepid. The DEA alleges that no properly executed claim was

received. On June 21, 2005, the DEA sent additional notices to Irvin, but the notices were returned

because Irvin was no longer at the facility to which the notices had been sent. On August 3, 2005,

notices were again sent and returned. Finally, on August 31, 2005, notices were sent again, and a

person at the West Carroll Detention Center in Epps, Louisiana, signed accepting delivery of the

notice on behalf of Irvin. Irvin testified that on September 20, 2005, after receiving the August 31,

2005, notice, he again wrote and made a claim on the 2000 Dodge Intrepid.

       On September 28, 2005, Irvin entered into a plea agreement with the government. Section

11.A of the original plea agreement provided:

       The defendant agrees to forfeit all interests in the following property that facilitated
       the defendant’s offense, including but not limited to the following specific property:
       2000 Dodge Intrepid registered to Irvin on 2-10-05;
       Green Cadillac registered to Irvin on 2-10-05;
       Ruger .45 caliber semi-automatic pistol, serial number 662-09013;
       U.S. currency removed from the bag recovered from the CI and from Irvin’s person
       upon his arrest; . . . .

Before signing the agreement, Irvin told his lawyer Blake Hendrix that he wanted to keep one of the

automobiles for his wife. Hendrix spoke to Assistant United States Attorney (“AUSA”) John Ray

White, who said that Irvin should pick the one he wanted to keep. Irvin picked the Dodge Intrepid,

and he or Hendrix marked through the line listing the Dodge Intrepid as property that would be


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forfeited. Then, Hendrix, Irvin, and White initialed next to that handwritten change to the plea

agreement.

       On October 25, 2005, the DEA forfeited the 2000 Dodge Intrepid to the United States

pursuant to 19 U.S.C. § 1609. According to the affidavit of John Hieronymus, forfeiture counsel for

the DEA, no properly executed claim was ever received. Irvin, believing that the government had

breached the terms of the plea agreement, filed an action under 28 U.S.C. § 2255. AUSA White

responded to the motion and attached a copy of the forfeiture order. After receiving a copy of the

forfeiture order, Irvin discovered that he had submitted an incorrect asset number on the two claims

that he had made contesting the forfeiture of the Dodge Intrepid. According to Irvin, he had added

an extra digit to the asset number. After an evidentiary hearing, this Court denied Irvin’s § 2255

petition. Document # 167. On March 24, 2010, Irvin filed a motion for the return of property

pursuant to Federal Rule of Criminal Procedure 41(g).

                                                 II.

       According to Rule 41(g), “A person aggrieved by . . . the deprivation of property may move

for the property’s return. The motion must be filed in the district where the property was seized.”

The Eighth Circuit has held that Rule 41(g) motions may not be used to attack antecedent civil

forfeitures. Muhammed v. Drug Enforcement Agency, Asset Forfeiture Unit, 92 F.3d 648, 652 n.4

(8th Cir. 1996); see also In re Harper, 835 F.2d 1273, 1274 (8th Cir. 1988) (holding that Rule 41(e)1

cannot be used to challenge the results of complete forfeiture proceedings), abrogated on other

grounds by United States v. Woodall, 12 F.3d 791 (8th Cir. 1993); 3A Charles Alan Wright et al.,

Federal Practice and Procedure, § 673 (3d ed.) (“Ordinarily once an administrative forfeiture


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           The former provisions of Rule 41(e) are now found in Rule 41(g).

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proceeding has begun, the district court loses jurisdiction to adjudicate the matter in a peripheral

setting such as a Rule 41(g) motion, since the claimant then has an adequate remedy at law.”)

However, the district court does have jurisdiction to consider claims of statutory or constitutional

violations occurring during the administrative process that prevent a claimant from exercising his

right to contest the administrative forfeiture. Woodall, 12 F.3d at 793 (“[F]ederal courts have

universally upheld jurisdiction to review whether an administrative forfeiture satisfied statutory and

due process requirements.”), abrogated on other grounds by Dusenbergy v. United States, 534 U.S.

161, 122 S. Ct. 694, 151 L. Ed. 2d 597 (2002); see Arango v. U.S. Dep’t of Treasury, 115 F.3d 922,

925 (11th Cir. 1997) (“We do, however, have jurisdiction over claims that ‘do [ ] not challenge the

[forfeiture] determination on its merits’ but rather seek review of ‘the adjudicatory process itself.’

”); United States v. White, No. 07-0016-01-CR-W-DW, 2007 WL 1527005, at *2 (W.D. Mo. May

22, 2007). Because Irvin challenges the procedural safeguards attending the forfeiture, his motion

comes within the purview of the Due Process Clause, and this Court has jurisdiction over the

motion.2 See Arango, 115 F.3d at 925 (finding that because the plaintiff claimed he was improperly

denied a judicial forum, his claim arose under the Fifth Amendment’s Due Process Clause).

        Due process requires “an opportunity to be heard at a meaningful time and in a meaningful

manner.” Mathews v. Eldridge, 424 U.S. 319, 333, 96 S. Ct. 893, 902, 47 L. Ed. 2d 18 (1976)). In

his motion, Irvin alleges that he was denied a meaningful opportunity to be heard because (a) the


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         Because Irvin filed his Rule 41(g) motion outside of his criminal proceeding, the motion
should be considered as a civil action. Muhammed, 92 F.3d at 651; see, e.g., Woodall, 12 F.3d at
794 n. 1 (finding the court should liberally construe 41(e) motion filed outside of a criminal
proceeding to invoke the proper remedy); Onwubiko v. United States, 969 F.2d 1392, 1397 (2d
Cir.1992) (determining that 41(e) motions should be treated as civil complaints where there is no
ongoing criminal action); Grant v. United States, 282 F.2d 165, 168 (2d Cir.1960) (J. Friendly)
(arguing that such a motion is in effect a complaint initiating a civil action).

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DEA failed to properly notify him of the administrative forfeiture proceeding, and (b) the DEA

continued with the administrative forfeiture proceeding even after Irvin filed a claim contesting it.

Pursuant to 19 U.S.C. §§ 1607 and 1609, property valued at less than $500,000 may be subject to

administrative forfeiture. After the property is seized, the government sends written notice to the

appropriate parties, including the property owner. 19 U.S.C. § 1607. “[S]uch notice shall be sent

in a manner to achieve proper notice as soon as practicable, and in no case more than 60 days after

the date of the seizure.” 18 U.S.C. § 983(a)(1)(A)(i). If the property owner wants to avoid the

administrative forfeiture, he may file a claim with the government that identifies the property being

forfeited; states the claimant’s interest in such property; and is made under oath, subject to penalty

of perjury. 18 U.S.C. § 983(a)(2). The claim need not be made in any particular form, however. 18

U.S.C. § 983(a)(2)(D). If, after receiving a claim, the government does not file a complaint for

forfeiture in federal district court, then the government must release the property. 18 U.S.C.

§ 983(a)(3)(B). The government may not continue with the administrative forfeiture unless the

forfeiture is uncontested. Id.

       Irvin’s allegation that he was not properly notified of the administrative forfeiture is without

merit. The Constitution requires “notice reasonably calculated, under all the circumstances, to

apprise interested parties of the pendency of the action and afford them an opportunity to present

their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314, 70 S. Ct. 652,

657, 94 L. Ed. 865 (1950). Notice is reasonably calculated if the government attempts to provide

actual notice; the government does not have to demonstrate that it was successful in providing actual

notice. Dusenbery, 534 U.S. at 170, 122 S. Ct. at 701. Here, the DEA attempted to serve Irvin with

notice on four occasions: March 18, 2005; June 21, 2005; August 3, 2005; and August 31, 2005.


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Irvin admits that he received the March 18 and August 31 notices. In fact, he was granted an

extension of time to respond to the March 18 notice. Because Irvin received actual notice of the

administrative forfeiture proceeding on two occasions, Irvin cannot allege that he was not properly

notified of the administrative forfeiture proceeding.3

        There is an issue of fact as to whether the DEA violated Irvin’s due process rights by

continuing with the administrative forfeiture proceeding after Irvin filed a claim contesting the

forfeiture. Irvin alleges that he filed two claims in response to the notices of seizure that he received,

but the DEA continued with the administrative forfeiture. Irvin admits that he used the incorrect

asset number on the claims he sent to the DEA, but he contends that his letters were sufficient to

meet the statutory requirements of 18 U.S.C. § 983(a)(2)(C) and to put the DEA on notice that he

was challenging the forfeiture. Irvin included a copy of a claim that he allegedly sent to the DEA

with his § 2255 petition. However, he did not provide any proof that the claim was actually mailed

to or received by the DEA. In its response, the DEA concedes that Irvin alleges he submitted two

claims to the DEA; however, the DEA cites to the affidavit of John Hireonymus, forfeiture counsel

for the DEA, which states that no properly executed claim for the property was ever received.

(Govt.’s Br. 3.) The DEA makes no other mention of the alleged claims. In light of this dispute, a

hearing is in order to resolve the issue of whether Irvin filed a properly executed claim with the

DEA. Cf. Fed. R. Crim. P. 41(g) (person aggrieved by deprivation of property may move for return

of property and court “must receive evidence on any factual issue necessary to decide the motion”);


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         Irvin argues that he was not properly notified of the forfeiture after it occurred because
he was not sent a copy of the order of forfeiture. However, the statute requires that notice
precede the forfeiture in order for the property owner to have an opportunity to contest it. It does
not require that the property owner receive notice after his property is forfeited. See 18 U.S.C. §
983(a)(1)(A)(i).

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see also United States v. Cole, 278 F. App’x 706, 706 (8th Cir. 2008) (remanding to the district court

because the government did not submit evidence that it had given proper notice of the forfeiture

proceedings to the defendant).

                                          CONCLUSION

       For the reasons stated, this Court will conduct an evidentiary hearing to determine whether

Irvin filed a timely claim pursuant to 18 U.S.C. § 983(a)(2). A date and time for the hearing will be

entered in a separate order.

       IT IS SO ORDERED this 25th day of May, 2010.



                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE




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